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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

Wesley Sydow and Theresa Sydow,             )
                                            )
                  Plaintiffs,               )
                                            )
       v.                                   )    Case No. 14-cv-219-wmc
                                            )
Weyerhaeuser Company, et al.,               )
                                            )
                  Defendants.               )

                         OWENS-ILLINOIS, INC.’S
                 STATEMENT OF PROPOSED FINDINGS OF FACT

       Owens-Illinois, Inc. (“Owens-Illinois”) submits the following statement of

proposed findings of fact pursuant to this Court’s procedure to be followed on motions

for summary judgment.

I.     Subject Matter Jurisdiction Exists

       1.    Plaintiffs Wesley Sydow and Theresa Sydow are residents of Marshfield,

Wisconsin. Pls.’ Second Amend. Compl. ¶ 1, ECF No. 82-2.

       2.    Owens-Illinois is a Delaware corporation with its headquarters in Ohio.

Owens-Illinois Ans. ¶ 10, ECF No. 100.

       3.    The amount in controversy exceeds $75,000, exclusive of interest and

costs. Pls.’ Second Amend. Compl. ¶ 9, ECF No. 82-2.

II.    Venue Is Proper

       4.    Plaintiffs Wesley Sydow and Theresa Sydow are residents of the Western

District of Wisconsin. Pls.’ Second Amend. Compl. ¶¶ 1, 10, ECF No. 82-2.
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III.    There Is No Evidence of Owens-Illinois Kaylo at the Marshfield Door Plant

        5.     In 1948, Owens-Illinois started commercially manufacturing a fire-

resistant hydrous calcium silicate product, commonly called “Kaylo.” Sam Schillaci

Test. 7-8, 10-11, 46, June 23, 1989.

        6.     In the early spring of 1953, Owens-Illinois shut down its Sayreville, New

Jersey plant where it manufactured Kaylo door cores. Thereafter, Owens-Illinois made

limited productions of Kaylo door cores only for existing customers until they could

find another material or find someone else that could make door cores. Sam Schillaci

Test. 18-19, June 23, 1989.

        7.     On April 30, 1958, Owens-Illinois then sold the entire Kaylo division to

Owens-Corning Fiberglas Corporation (“Owens-Corning Fiberglas”), a separate

company that continued to manufacture and sell products under the brand name Kaylo

into the 1970s. Brian Watson Decl. at Exs. A, B, March 6, 2015.

        8.     Before September 17, 1959, there are no invoices reflecting any shipment

of Kaylo products to the door plant located in Marshfield, Wisconsin (“Marshfield door

plant”). Brian Watson Decl. at Ex. B, at ¶¶1-2, March 6, 2015; Andrew Oh Aff. at OCFB

1, Jan. 30, 2014.

        9.     Plaintiffs’ attorneys have nothing, other than a patent license, that shows

any connection between Owens-Illinois and the Marshfield door plant:

               MR. CASCINO: We have no documents. And if we do, there
               may be one or two invoices I saw, but I don’t even believe,
               my legal assistant’s saying no, shaking his head no is that
               there are none.




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               So the only thing we have are, again, is what Riley provided
               us, which was an affidavit by him saying that they did have
               a process patent.

               THE COURT: Okay. Well we will take that then as your
               representation with respect to having searched the materials,
               and you’re telling me then you see nothing that shows any
               specific kind of connection, other than what you said with
               respect to information you have for Mr. Riley that I presume
               Mr. Casmere is aware of.

               MR. CASCINO: Yes, Your Honor. That’s true.

Hr’g Tr. 8:19-9:7, Seehafer v. Weyerhaeuser Co., No. 14-CV-00059 (E.D. Pa. Jan. 13, 2014).

IV.      Wesley Sydow Was Never Exposed to Owens-Illinois Kaylo.

         10.   Wesley Sydow worked at the Marshfield door plant between 1947 and

1951, 1952 and 1961, and 1962 and 1990. Wesley Sydow Dep. 38-39, 43 & Ex. A, Nov. 12,

2014.

         11.   Before 1960, Wesley Sydow worked for Roddis Plywood Corporation

(“Roddis”), which owned the Marshfield door plant during that time. Wesley Sydow

Dep. 38-39, 43 & Ex. A, Nov. 12, 2014.

         12.   After 1960, Wesley Sydow worked for Weyerhaeuser Company

(“Weyerhaeuser”), which owned the Marshfield door plant during that time, and he

ultimately retired in management from Weyerhaeuser in 1990. Wesley Sydow Dep. 39,

43, Nov. 12, 2014.

         13.   Wesley Sydow did not know whether Roddis added the one-hour and

one-and-a-half-hour fire doors before or after 1959. Wesley Sydow Dep. 45-46, Nov. 12,

2014.

         14.   When Roddis owned the Marshfield door plant (before 1960), Wesley


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Sydow only recalled Owens-Corning Fiberglas as the manufacturer of Kaylo door cores:

             Q      Did you see any other manufacturer of cores other than
                    Owens-Corning Kaylo at Roddis?
             A      I can't say.
             Q      Do you recall one way or the other?
             A      No.
Wesley Sydow Dep. 60, Nov. 12, 2014.

      15.    Wesley Sydow did not recall any manufacturers of door cores other than

Owens-Corning Kaylo and Weyerhaeuser:

             Q      Do you remember any mineral cores at Roddis or
                    Weyerhaeuser other than Owens-Corning Kaylo and the
                    mineral cores that were manufactured by Weyerhaeuser?
             A      I don't recall. Those are the two main ones.
             Q      Do you recall any others?
             A      No.
Wesley Sydow Dep. 74, Nov. 12, 2014.

      16.    Wesley Sydow did not have responsibility for ordering the door cores or

maintaining inventory of the door cores. Wesley Sydow Dep. 47, Nov. 12, 2014.

      17.     Wesley Sydow did not remember the type of packaging or any marking,

lettering, or logos on the door cores to show who manufactured them. Wesley Sydow

Dep. 48, Nov. 12, 2014.

      18.    Wesley Sydow was never part of any discussions with other supervisors

about buying door cores. Wesley Sydow Dep. 160, Nov. 12, 2014.

V.    Wesley Sydow Never Worked with the Disclosed “Coworkers”

      19.    By 1960, the Marshfield door plant had several buildings on its site,

including a general office, veneer and plywood plant, door factory, sawmill, log yard,


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and others:




Weyerhaeuser Company, Annual Report at 10, 16 (1960), available at

https://content.lib.washington.edu/cgi-

bin/showfile.exe?CISOROOT=/reports&CISOPTR=2550&CISOMODE=print.

       20.    Wesley Sydow never worked with Diane Treutel, John Treutel, Joe

Rosandich, Mable Karl, Sharon Heckel, Valmore Prust, Charles Reno, James (Jim)

Genett, James Sala, Everette Burt, Steven (Steve) Delis, Dennis Grimm, Joann

Haffenbredl, William Haffenbredl, Jerry Johnson, Beverly Schiller, Elwood Schiller, and

Alice Sebastian. Wesley Sydow Dep. 124-130, 137-138, Nov. 12, 2014.

VI.    Other Workers at the Marshfield Door Plant Confirm They Did Not Use
       Owens-Illinois Kaylo.

       21.    Ronald Koepke testified that he worked at the Marshfield door plant



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between 1957 and 2000, and the only Kaylo door cores used at the Marshfield door

plant were manufactured by Owens-Corning Fiberglas and Weyerhaeuser. Workers at

the Marshfield door plant also referred to door cores generically as Kaylo. Ronald

Koepke Dep. 227, 234-46, Feb. 18, 2014.

      22.    Roger Seehafer testified that, in 1964, he saw fire doors for the first time at

the Marshfield door plant and Kaylo for the first time at the Marshfield door plant.

According to Roger Seehafer, Weyerhaeuser mixed and made its own Kaylo door cores

in its own Kaylo department, which was located in a separate building at the

Marshfield door plant. Roger Seehafer Dep. 115, 126-27, 162, 206-07, Jan. 22, 2014.

      23.    Jerry Saindon testified that he does not know whether Roddis ever used

Kaylo door cores (before Weyerhaeuser took over the Marshfield door plant in 1960); he

does not know when the Marshfield door plant started using Kaylo door cores; he does

not know where Kaylo door cores came from; and Owens-Corning Fiberglas was the

manufacturer of Kaylo door cores. Jerry Saindon Dep. 60-61, 86, Mar. 12, 2014.

      24.    Wilhelm Haeni could not testify that Roddis ever used Kaylo door cores at

the Marshfield door plant. At some point after Weyerhaeuser bought the Marshfield

door plant in 1960, Wilhelm Haeni remembers that Kaylo door cores were used at the

Marshfield door plant. Wilhelm Haeni Dep. 38-39, Mar. 11, 2014.

      25.    Verna Fohrman testified that she did not work with Kaylo door cores at all

from 1946 until 1963, and that Kaylo door cores were made by Roddis and

Weyerhaeuser. Verna Fohrman Dep. 36-37, June 15, 2011.

      26.    Siegfried Sebastian testified that Kaylo door cores were made by Roddis


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and Weyerhaeuser, and that Roddis and Weyerhaeuser never purchased Kaylo door

cores from anyplace else. Siegfried Sebastian Dep. 86-87, June 15, 2011.

        27.   Charles Reno testified that he worked at the Marshfield door plant

beginning in 1959; the earliest he ever saw Kaylo door cores at the Marshfield door

plant was in 1959; and Owens-Corning Fiberglas was the only manufacturer of Kaylo

door cores. Charles Reno Dep. 6, 8, 32, 42-45, 48, June 15, 2011; Dep. Charles Reno 139,

288, 336, 339, Apr. 23, 2014.

        28.   Steven Delis testified that Kaylo door cores were made at the Marshfield

door plant by Weyerhaeuser and that workers at the Marshfield door plant referred to

door cores generically as Kaylo. Steven Delis Dep. 53-55, Feb. 19, 2014.

        29.   James Genett testified that Kaylo door cores were made at the Marshfield

door plant by Weyerhaeuser and that workers at the Marshfield door plant referred to

door cores generically as Kaylo. James Genett Dep. 50, 51, Feb. 19, 2014.

VII.    The Marshfield Door Plant Used Other Door Cores (Not Owens-Illinois Kaylo)

        30.   Roddis manufactured a “Golden Dowel” ¾-hour fire door using a wood

particle core. Brian Watson Decl. at Ex. C, March 6, 2015.

        31.   In July 1948, Reynolds & Co., a New York brokerage firm, recommended

that Roddis make a deal with glass companies, other than Owens-Illinois, like Corning

or Libby-Owens-Ford, to develop a competitive product to Owens-Illinois Kaylo and

not to sell fire doors with the same Kaylo door core as Roddis’ primary competitor, U.S.

Plywood. Brian Watson Decl. at Ex. D, March 6, 2015.

        32.   In August 1948, Roddis met with the Armour Research Foundation, an


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industrial research laboratory in Chicago, about creating their own door cores that

would be comparable to Owens-Illinois Kaylo. Brian Watson Decl. at Ex. E, March 6,

2015.

         33.   In January 1949, Roddis hired the Armour Research Foundation to

develop their own door cores that would be comparable to Owens-Illinois Kaylo. Brian

Watson Decl. at Ex. E, March 6, 2015.

         34.   In February 1949, Roddis had tests performed on the door cores from the

Armour Research Foundation as compared to Owens-Illinois Kaylo. The door cores

from the Armour Research Foundation failed the tests. Brian Watson Decl. at Ex. F,

March 6, 2015.

         35.   In November 1950, Roddis developed and submitted a Protex #60 fire

door for a “B” level rating from Underwriters Laboratories (“UL”). The Protex #60 fire

door burned for one hour, but it could not withstand UL’s fire hose test. Brian Watson

Decl. at Ex. G, March 6, 2015.

         36.   In November 1952, Roddis had tests performed on its hollow core door,

one-panel door, solid core door, and Protex #60 fire door under the Improved Risk

Mutual’s Fire Test. Brian Watson Decl. at Ex. H, March 6, 2015.

         37.   In 1953, Roddis developed a fire door with Johns-Manville Asbestocore.

Brian Watson Decl. at Exs. I & J, March 6, 2015.

         38.   In April 1954, UL tested the fire doors manufactured by Roddis with Johns

Manville Asbestocore. Brian Watson Decl. at Ex. K, March 6, 2015; June Thomas Aff. at

UL000001-UL000025, Jan. 24, 2014.


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      39.    In May 1954, UL approved the fire doors manufactured by Roddis with

Johns Manville Asbestocore. Brian Watson Decl. at Ex. L, March 6, 2015; June Thomas

Aff. at UL000001-UL000025, Jan. 24, 2014.

      40.    In September 1954, Roddis began production of the fire doors with Johns

Manville Asbestocore. Brian Watson Decl. at Ex. M, March 6, 2015.

      41.    Based on their UL certification, Roddis and Weyerhaeuser had to follow a

specific manufacturing process and use specific materials:

             Q      So when Roddis or Weyerhaeuser had a UL
                    certification and it set forth the manufacturing and
                    the materials that were used in that door to achieve
                    that UL certification, Roddis and Weyerhaeuser
                    would follow that UL certification?
             A      They had to.

Ronald Koepke Dep. 239:20-25, Feb. 18, 2014.

      42.    In August 1955, Roddis filed a patent application and later obtained U.S.

Patent No. 2,797,450, which described its fire doors with Johns Manville Asbestocore.

Brian Watson Decl. at Ex. N, March 6, 2015.

      43.    In August 1955, Roddis later considered withdrawing its fire doors from

the market until they were on par with the fire doors manufactured and sold by its

primary competitor, U.S. Plywood. Brian Watson Decl. at Ex. P, March 6, 2015.

      44.    In February 1956, Roddis wrote to Owens-Illinois that Roddis was unable

to buy Owens-Illinois Kaylo and that Roddis was manufacturing fire doors with Johns

Manville asbestos cores:

      When you were engaged in the manufacture of Kaylo for U.S. Plywood
      we tried on a number of occasions to buy this product from you without


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       much success. Later we had some correspondence with and you advised
       you had decided to go out of this business. Accordingly, we turned to the
       manufacture of a fireproof door with an asbestos core made by Johns-
       Manville and have made a few thousand of these doors, which, however,
       we must say, have not been altogether satisfactory.
                                           ….
       We should also appreciate hearing from you as to whether you expect to
       resume the manufacture of Kaylo.

Brian Watson Decl. at Ex. Q, March 6, 2015.

       45.    In February 1956, Owens-Illinois responded to Roddis’ request for a

nonexclusive license to U.S. Patent No. 2,593,050 and made clear that Roddis “may

acquire such license regardless of whether you purchase core material from our Kaylo

Division.” Brian Watson Decl. at Ex. R, March 6, 2015.

       46.    In March 1956, Roddis acquired a nonexclusive license from Owens-

Illinois of U.S. Patent No. 2,593,050. Brian Watson Decl. at Ex. S, March 6, 2015.

       47.    On April 30, 1958, Owens-Illinois ceased the manufacture and sale of

Kaylo and sold the entire Kaylo division to Owens-Corning Fiberglas. Brian Watson

Decl. at Ex. A, March 6, 2015.

       48.    In August 1959, the Board of Directors of Roddis approved the purchase

of certain timberlands and plants of Owens-Illinois Plywood Company, Inc., which was

a separate and distinct corporate entity from Owens-Illinois, and noted that Owens-

Illinois Plywood Company, Inc. “has a successful mineral core door with a Kaylo core

which is superior to our [Roddis’] mineral core door.” Brian Watson Decl. at Ex. T,

March 6, 2015.

       49.    On September 1, 1959, Roddis acquired certain timberlands and plants of




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Owens-Illinois Plywood Company, Inc., which was a separate and distinct corporate

entity from Owens-Illinois. Brian Watson Decl. at Ex. U, March 6, 2015.

       50.   On September 17, 1959, Roddis placed a “special order” with Owens-

Corning Fiberglas for ten packages of Kaylo door cores shipped to “Roddis Plywood

Corp. Experimental” at the Marshfield door plant. Andrew Oh Aff. at OCFB 1, Jan. 30,

2014; Brian Watson Decl. at Ex. B, March 6, 2015.

       51.   Before September 17, 1959, there are no invoices reflecting any sale of

Kaylo products to the Marshfield door plant. Andrew Oh Aff. at OCFB 1, Jan. 30, 2014;

Brian Watson Decl. at Ex. B, March 6, 2015.

       52.   In June 1960, Owens-Illinois Plywood Company, Inc., which was a

separate and distinct corporate entity from Owens-Illinois, was terminated and

dissolved as a corporate entity under Vermont law. Brian Watson Decl. at Ex. V, March

6, 2015.

       53.   In August 1960, Weyerhaeuser purchased the assets of Roddis, including

the Marshfield door plant. Brian Watson Decl. at Ex. W, March 6, 2015.

       54.   Throughout the 1950s and 1960s, Roddis and Weyerhaeuser had a UL

approval for fire doors with Johns-Manville Asbestocore. Brian Watson Decl. Ex. X,

March 6, 2015; June Thomas Aff. at UL000008, Jan. 24, 2014.

       55.   Between December 1960 and November 1972, Owens-Corning Fiberglas

shipped more than 15,000 pallets, with more than 1 million pieces, of Owens-Corning

Fiberglas Kaylo door cores to the Marshfield door plant. Brian Watson Decl. at Ex. B,

March 6, 2015; Andrew Oh Aff. at OCFB 1-OCFB 771, Jan. 30, 2014.


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       56.    In March 1961, Weyerhaeuser had a UL approval for fire doors with

Owens-Corning Fiberglas Kaylo door cores. Brian Watson Decl. at Ex. Y, March 6, 2015.

       57.    In 1966 and 1967, Weyerhaeuser developed its own asbestos-containing

door cores. Joseph Wendlick Dep. 329:5-12, Mar. 19, 2014.

       58.    In 1966 and 1967, Weyerhaeuser had issues with Owens-Corning Fiberglas

as the sole supplier of door cores:

              Q.     In fact, Weyerhaeuser was buying core material at
                     that time from only one supplier?
              A.     Single source, yes.
              Q.     Who was the supplier of the core material?
              A.     Owens-Corning Fiberglas[].
              Q.     So given the price pressures, the single supplier
                     problem, and likely some other problems,
                     Weyerhaeuser decided to develop a mineral core of
                     its own for its fire doors?
              A.     Correct.

Joseph Wendlick Dep. 328:16-329:1, Mar. 19, 2014.

       59.    In 1966 and 1967, Weyerhaeuser wanted a stronger, single door core that

could be manufactured into the fire doors, rather than multiple door cores with a

tongue and groove design inside the fire doors. Joseph Wendlick Dep. 332:21-333:24,

Mar. 19, 2014.

       60.    Weyerhaeuser chemically analyzed Owens-Corning Fiberglas Kaylo K17,

and other asbestos-containing materials, to develop its own asbestos-containing core

material. Joseph Wendlick Dep. 330:15-332:20, Mar. 19, 2014.

       61.    In 1968, Weyerhaeuser opened a mineral core plant and began to




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manufacture its own asbestos-containing door cores at the Marshfield door plant.

Ronald Koepke Dep. 19:19-21:11, Feb. 18, 2014.

      62.    In order to manufacture asbestos-containing door cores at the Marshfield

door plant, Weyerhaeuser bought tons of raw asbestos fibers from at least five sellers:

Johns-Manville, Owens-Corning Fiberglas, North American Asbestos, Carey of Canada,

and the United States Government. Ronald Koepke Dep. 59-60, 65, May 1, 2007; Ronald

Koepke Dep. 243, Feb. 18, 2014; Margaret J. Baumgardner Aff., Sept. 18, 2013; Brian

Watson Decl. Ex. B, March 6, 2015

      63.    In June 1978, Weyerhaeuser ceased the use of asbestos in its door cores

and fire doors at the Marshfield door plant. Ronald Koepke Dep. 253:20, Feb. 18, 2014.

VIII. There Was No Foreseeable Risk of Harm from Household or Community
      Asbestos Exposure When Owens-Illinois Manufactured and Sold Kaylo.

      64.    There was no scientific or medical literature at all focusing on disease

resulting from household or community exposure to asbestos before 1960. Peter

Neushul, Ph.D. Decl. ¶¶ 1-10, Sept. 26, 2014.

      65.     There was no evidence of risk from household or community exposure to

asbestos before 1960. Peter Neushul, Ph.D. Decl. ¶¶ 1-10, Sept. 26, 2014.

      66.    When Owens-Illinois ceased manufacturing and selling its Kaylo product

in April 1958, there was no scientific or medical knowledge that even suggested, much

less established, a relationship between household exposure and a risk of developing

asbestos-related disease. Peter Neushul, Ph.D. Decl. ¶¶ 1-10, Sept. 26, 2014.

      67.     Dr. Henry Anderson, a medical expert who regularly testifies for




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Plaintiffs’ attorneys, admits that there were no studies at all indicating there was any

risk of asbestos-related disease among household members of workers. Henry

Anderson Hr’g Test. 178:15–23, Jan. 14, 2013.

       68.    Dr. Barry Castleman, a purported state-of-the-art expert who regularly

testifies for Plaintiffs’ attorneys, admits that the first published study or article

regarding the association between household or take-home exposure to asbestos and

asbestos-related disease was in 1960. Barry Castleman Dep. 61:9–16, Oct. 6, 2008.

       69.    Frank Parker, an industrial hygiene expert who regularly testifies for

Plaintiffs’ attorneys, admits that the first study showing that people could get disease

from exposure to asbestos in the home (a landmark study) was in the 1960 by Dr.

Wagner, and the first study showing that people could get asbestos-related disease from

asbestos on clothing that was brought home was in 1965 by Dr. Newhouse. Frank

Parker Tr. Test. 77:29–79:2, Oct. 15, 2013.

       70.    Dr. Arthur Frank, a medical expert who regularly testifies for Plaintiffs’

attorneys, admits that the first epidemiological study showing any link between

household exposure to asbestos and asbestos-related disease was in 1965 by Dr.

Newhouse. Arthur Frank Dep. 86:9–15, 87:16–24, Aug. 7, 2014.

       71.     Steven Paskal, an industrial hygiene expert who regularly testifies for

Plaintiffs’ attorneys, admits there was no report of mesothelioma from household

exposure to asbestos before 1965. Steven Paskal Dep. 96:16-96:19, Nov. 16, 2010.

       72.    Dr. Victor Roggli, a medical expert who has authored numerous texts and

articles on the pathology of asbestos-related diseases and who regularly testifies at the


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request of both plaintiffs’ and defendants’ attorneys, admits the first article about

mesothelioma from household asbestos exposure was in 1965. Victor Roggli Dep. 71:6-

71:20, Aug. 31, 2005.

IX.    Roddis and Weyerhaeuser Knew of the Dangers of Excessive Asbestos Exposure.

       73.    In 1947, Wisconsin established laws that applied to all manufactures,

limiting the maximum amount of asbestos dust permissible in manufacturing facilities.

Brian Watson Decl. at Ex. Z, March 6, 2015.

       74.     The laws identified asbestos exposure as “harmful” when asbestos dust

exceeded 5 million particles per cubic foot (mppcf) of air. Id. at “Mineral Dusts,” 1, 4.

       75.    According to the laws, asbestos exposure below 5 mppcf would “not be

sufficient to cause discomfort or to incapacitate the workman during his normal

lifetime.” Id. at 8. The best available scientific knowledge at the time supported the

claim that exposure to asbestos dust below 5 mppcf was not harmful. Id. at 7.

       76.    The laws required Wisconsin employers—including Roddis and

Weyerhaeuser—to take measures to prevent “harmful levels of exposure.” Id. at 13.

The measures required employers to install exhaust systems on dust generating

equipment, install ventilation systems to remove dust from plants, and provide dust

masks and respirators to workers. Id. at 14-17. Each day of non-compliance subjected

the employer to a civil penalty. Id. at 8-9.

       77.    William Lea, who worked at the Wisconsin Board of Health, testified that

they travelled at the request of various industry and union representatives from

Wisconsin companies to measure dust levels under the laws and prevent harmful levels


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of asbestos exposure. William Lea Dep. 14-21, Oct. 16, 1985.

      78.    Dr. Henry Anderson, a medical expert who regularly testifies for

Plaintiffs’ attorneys, admits that all Wisconsin employers knew in 1947 “that asbestos

was a hazardous material and that there were mppcf.” Henry Anderson Dep. 229:20-22,

Apr. 30, 2010.



      Dated: May 15, 2015                         Respectfully submitted,

                                             By: /s/Brian O. Watson
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                                   CERTIFICATE OF SERVICE

             I certify that on May 15, 2015, these papers were filed with the Clerk of the Court

for the United States District Court for the Western District of Wisconsin using the

CM/ECF system, which will send notification of such filing upon all parties who have

appeared.


                                                         /s/ Brian O. Watson
                                                         Brian O. Watson



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